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 1                             UNITED STATES DISTRICT COURT
 2                                      DISTRICT OF NEVADA
 3
      UNITED STATES OF AMERICA,                       )   2:10-cr-284-RLH-PAL-4
 4                                                    )
                       Plaintiff,                     )
 5                                                    )
                       vs.                            )   ORDER
 6                                                    )
      PATRICIA BASCOM,                                )
 7                                                    )
                       Defendant.                     )
 8                                                    )

 9            On January 18, 2012, the government filed a motion to exclude evidence pertaining to the

10    recording of an alleged call between Ms. Bascom and one of her attorneys, Michael Cristalli. The

11    government further moved to strike Ms. Bascom’s “Motion to Withdraw Plea Bargain” and an

12    affidavit in support of that motion because publication of portions of the alleged call violates

13    federal law. Having considered the government’s motion and any response thereto, it is

14            HEREBY ORDERED that Ms. Bascom may neither refer to nor use any portion of the

15    purported recording of the alleged call between Ms. Bascom and Michael Cristalli or any evidence

16    derived from the purported recording, either at the February 2, 2012, evidentiary hearing on Ms.

17    Bascom’s motion or at any subsequent hearing or trial;

18            IT IS FURTHER ORDERED that Ms. Bascom’s “Motion to Withdraw Plea Bargain” and

19    her affidavit in support thereof [docket #148] are stricken from this case’s record. Ms. Bascom is

20    directed to refile her motion and affidavit, excising any reference to, or quotation of, the purported

21    call or any evidence derived therefrom.
                          27th day of _________,
              DATED this ______       January 2012.
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26                                                UNITED STATES DISTRICT JUDGE
